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                                                           James Patrick Shea, Esq.
                                                       1   Nevada Bar No. 405
                                                           Bart K. Larsen, Esq.
                                                       2   Nevada Bar No. 8538
                                                           Kyle M. Wyant, Esq.
                                                       3   Nevada Bar No. 14652
                                                           SHEA LARSEN
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                                                           Las Vegas, Nevada 89134
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                                                       6   Email: jshea@shea.law
                                                                   blarsen@shea.law
                                                       7           kwyant@shea.law
                                                       8   -and-
                                                       9   JEFFREY D. STERNKLAR LLC
                                                           Jeffrey D. Sternklar, Esq. (Pro Hac Vice Application Forthcoming)
                                                      10   Massachusetts Bar No. 549561
                                                           101 Federal Street, Suite 1900
                                                      11   Boston, Massachusetts 02110
              1731 Village Center Circle, Suite 150




                                                           Telephone: (617) 207-7800
                                                      12   Email: jeffrey@sternklarlaw.com
                   Las Vegas, Nevada 89134
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                                                      13
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                                                           Attorneys for Creditor White Winston
                                                           Select Asset Funds, LLC
                                                      14
                                                                                           UNITED STATES BANKRUPTCY COURT
                                                      15
                                                                                              FOR THE DISTRICT OF NEVADA
                                                      16
                                                                                                                 Chapter 11
                                                      17    IN RE:
                                                                                                                 Case No.: 22-14422-nmc
                                                      18
                                                            MUSCLEPHARM CORPORATION                              VERIFIED PETITION FOR
                                                      19                                                         PERMISSION TO PRACTICE IN THIS
                                                                                                                 CASE ONLY BY ATTORNEY NOT
                                                      20                                    Debtor.              ADMITTED TO THE BAR OF THIS
                                                                                                                 COURT
                                                      21
                                                                                                                 EFFECTIVE JANUARY 1, 2015 FILING
                                                      22                                                         FEE IS $250.00
                                                      23
                                                                    Jeffrey D. Sternklar, Esq. (“Petitioner”) respectfully represents to the above-captioned
                                                      24
                                                           Court:
                                                      25
                                                                    1.       That Petitioner resides in Sharon, Massachusetts.
                                                      26
                                                                    2.       That Petitioner is an attorney at law and a member of the law firm of Jeffrey D.
                                                      27

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                                                       1   Sternklar LLC (“JDS”) with an office and mailing address at 101 Federal Street, Suite 1900,
                                                       2   Boston, MA 02110.
                                                       3             3.      That Petitioner has been retained as a member of the JDS law firm by creditor White
                                                       4   Winston Select Asset Funds, LLC to provide legal representation in connection with the above-
                                                       5   entitled case now pending before this Court.
                                                       6             4.      Since 1986, Petitioner has been and presently is a member of good standing of the
                                                       7   bar of the highest Court of the State of Massachusetts where Petitioner regularly practices law. A
                                                       8   copy of the certificate of good standing for Petitioner is attached hereto as Exhibit 1.
                                                       9             5.      That there are or have been no disciplinary proceedings instituted against petitioner,
                                                      10   nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory,
                                                      11   or administrative body, or any resignation or termination in order to avoid disciplinary or
              1731 Village Center Circle, Suite 150




                                                      12   disbarment proceedings.
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




                                                                     6.      That Petitioner has never been denied admission to the State Bar of Nevada.
                                                      14             7.      That Petitioner is a member of good standing in the following Bar Associations:
                                                      15   State Bar of Massachusetts – Bar No. 549561.
                                                      16             8.      Petitioner was admitted to practice before the following courts on the dates
                                                      17   indicated for each, and that Petitioner is presently a member in good standing of the bars of said
                                                      18   courts:
                                                                                             STATE BAR MEMBERSHIPS
                                                      19
                                                            STATE                            BAR ID       DATE OF LICENSURE
                                                      20    Massachusetts                    549561                   June 10, 1987
                                                            Texas                            19176300            November 4, 1983
                                                      21
                                                            North Carolina                   13337                   March 21, 1986
                                                      22    New York                         2113041                 March 31, 1987

                                                      23
                                                                                          FEDERAL BAR MEMBERSHIPS
                                                      24
                                                            COURT                                          DATE OF LICENSURE
                                                      25    United States Supreme Court                                May 12, 1997
                                                            United States Court of Appeals - First Circuit        November 4, 1996
                                                      26    United States Court of Appeals - Second
                                                            Circuit                                                  August 23, 2017
                                                      27

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                                                                                                CERTIFICATE OF SERVICE
                                                       1
                                                                    1.       On January 4, 2023, I served the following document(s): VERIFIED PETITION
                                                       2                     FOR PERMISSION TO PRACTICE IN THIS CASE ONLY BY
                                                                             ATTORNEY NOT ADMITTED TO THE BAR OF THIS COURT
                                                       3
                                                                    2.       I served the above document(s) by the following means to the persons as listed
                                                       4                     below:
                                                       5                     ց        a.     ECF System:
                                                       6            SAMUEL A. SCHWARTZ on behalf of Debtor MUSCLEPHARM CORPORATION
                                                                    saschwartz@nvfirm.com
                                                       7
                                                                    WILLIAM NOALL on behalf of Creditor EMPERY ASSET MANAGEMENT, LP
                                                       8            wnoall@gtg.legal
                                                       9                     տ        b.     United States mail, postage fully prepaid:
                                                      10                     տ        c.     Personal Service:
                                                      11                     I personally delivered the document(s) to the persons at these addresses:
              1731 Village Center Circle, Suite 150




                                                      12                                     տ       For a party represented by an attorney, delivery was made by
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                             handing the document(s) at the attorney’s office with a clerk or other person in
                                                      13
                        (702) 471-7432




                                                                             charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                             in the office.
                                                      14
                                                                                             տ       For a party, delivery was made by handling the document(s)
                                                      15                     to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                             place of abode with someone of suitable age and discretion residing there.
                                                      16
                                                                             տ       d.      By direct email (as opposed to through the ECF System):
                                                      17                     Based upon the written agreement of the parties to accept service by email or a
                                                                             court order, I caused the document(s) to be sent to the persons at the email
                                                      18                     addresses listed below. I did not receive, within a reasonable time after the
                                                                             transmission, any electronic message or other indication that the transmission was
                                                      19                     unsuccessful.
                                                      20                     տ        e.     By fax transmission:
                                                      21                     Based upon the written agreement of the parties to accept service by fax
                                                                             transmission or a court order, I faxed the document(s) to the persons at the fax
                                                      22                     numbers listed below. No error was reported by the fax machine that I used. A copy
                                                                             of the record of the fax transmission is attached.
                                                      23

                                                      24   ///
                                                      25   ///
                                                      26   ///
                                                      27   ///
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                                                       1                     տ        f.     By messenger:
                                                       2                     I served the document(s) by placing them in an envelope or package addressed to
                                                                             the persons at the addresses listed below and providing them to a messenger for
                                                       3                     service.
                                                       4                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       5                     Dated: January 4, 2023.
                                                       6                                                     By: /s/ Bart K. Larsen, Esq,
                                                       7

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              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                      EXHIBIT 1
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                                                   December 29, 2022


         Attorney Jeffrey David Sternklar
         Jeffrey D. Sternklar
         10 Mallard Drive
         Sharon , MA 02067
         jeffrey@sternklarlaw.com


         IN RE:         CERTIFICATE OF ADMISSION AND GOOD STANDING


                  Enclosed please find the Certificate of Admission and Good Standing for Commonwealth of
         Massachusetts Attorney Jeffrey David Sternklar . The certificate provides certification of the
         attorney’s date of admission and current good standing at the Bar of the Commonwealth of
         Massachusetts.

                  If you have any questions or should need further assistance, please do not hesitate to contact
         the Attorney Services Department at either sjccertsgs@sjc.state.ma.us or 617-557-1050.



                                                     Very truly yours,




                                                 MAURA S. DOYLE
                                                 Clerk
                                                 Supreme Judicial Court


MSD/ jr
Clearance: 12/29/2022 12.28.2022
Enclosures
                                 Case 22-14422-nmc                           Doc 47            Entered 01/04/23 14:38:40                               Page 8 of 8

                                             COMMONWEALTH OF MASSACHUSETTS
                        SUFFOLK, SS.




                                     BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
                        within and for said County of Suffolk, on                                                  June 10, 1987,

                        said Court being the highest Court of Record in said Commonwealth:



                                                                      Jeffrey David Sternklar


                      being found duly qualified in that behalf, and having taken and subscribed

                      the oaths required by law, was admitted to practice as an Attorney, and, by virtue

                      thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:

                      that said Attorney is at present a member of the Bar, and is in good standing
                      according to the records of this Court*.

                                     In testimony whereof, I have hereunto set my hand and affixed the

                                                  seal of said Court, this twenty-ninth                                                         day of             December
                                                                   in the year of our Lord two thousand and twenty-two.




                                                                                                                   MAURA S. DOYLE, Clerk




* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.

                                                          Amended January 2022, effective February 2022 for digital and/or electronic attestation for the Supreme Judicial Court for the County of Suffolk.
